         Case 6:21-cv-00815-ADA Document 27 Filed 12/06/21 Page 1 of 8




                         UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                WACO DIVISION


                                             §
WAG ACQUISITION, L.L.C.,                     §
                                             §
                          Plaintiff,         §
v.                                           §
                                             §       No. 6:21-cv-00815-ADA
AMAZON.COM, INC.,                            §
AMAZON WEB SERVICES,                         §       Jury Trial Demanded
INC., and AMAZON.COM                         §
SERVICES LLC,                                §
                                             §
                          Defendants.

          JOINT MOTION FOR ENTRY OF AGREED SCHEDULING ORDER

       Pursuant to the Honorable Judge Albright’s Standing Order Governing Proceedings –

Patent Cases, dated November 17, 2021 (“Proceedings Standard Order”), Plaintiff WAG

Acquisition, L.L.C. and Defendants Amazon.com, Inc., Amazon Web Services, Inc., and

Amazon.com Services LLC (collectively, “Parties”) have agreed on all dates relating to the

Scheduling Order and jointly move that their proposed Agreed Scheduling Order, attached as

Exhibit A, be entered by the Court. The Parties have modified slightly the default dates provided

by the guidelines in the Proceedings Standard Order to accommodate the observance of holidays

and Amazon’s trial in Case No. 6:21-cv-720 before this Court, which is scheduled to begin on

May 15, 2023.




                                                 1
         Case 6:21-cv-00815-ADA Document 27 Filed 12/06/21 Page 2 of 8




Dated: December 6, 2021

                                              Respectfully submitted,

HALEY & OLSON, P.C.                           By: /s/ Ravi R. Ranganath
100 North Ritchie Road, Suite 200             J. David Hadden (CA Bar No. 176148)
Waco, Texas 76712                             Email: dhadden@fenwick.com
Tel: (254) 776-3336                           Saina S. Shamilov (CA Bar No. 215636)
Fax: (254) 776-6823                           Email: sshamilov@fenwick.com
By: /s/ Brandon R. Oates________              Ravi R. Ranganath (CA Bar No. 272981)
Brandon R. Oates (State Bar No. 24032921)     Email: rranganath@fenwick.com
Email: boates@haleyolson.com                  FENWICK & WEST LLP
                                              Silicon Valley Center
OF COUNSEL:                                   801 California Street
                                              Mountain View, CA 94041
LISTON ABRAMSON LLP
                                              Telephone: (650) 988-8500
The Chrysler Building
                                              Facsimile: (650) 938-5200
405 Lexington Ave, 46th Floor
New York, New York 10174
                                              Counsel for Defendants
Tel: (212) 257-1630
                                              AMAZON.COM, INC., AMAZON WEB
Ronald Abramson (Admitted pro hac vice)
                                              SERVICES, INC., AND AMAZON.COM
David G. Liston (Admitted pro hac vice)
                                              SERVICES LLC
Ari J. Jaffess (Admitted pro hac vice)
Alex G. Patchen (Admitted pro hac vice)
                                              Of Counsel:
M. Michael Lewis (Admitted pro hac vice)
Gina K. Kim
                                                Barry K. Shelton (TX Bar #24055029)
Email: docket@listonabramson.com
                                                bshelton@sheltoncoburn.com
Attorneys for Plaintiff WAG Acquisition, L.L.C. SHELTON COBURN LLP
                                                311 RR 620 S, Suite 205
                                                Austin, TX 78734
                                                Tel: (512) 263-2165
                                                Fax: (512) 263-2166

                                              Deron R. Dacus (TX Bar #00790553)
                                              ddacus@dacusfirm.com
                                              THE DACUS FIRM, P.C.
                                              821 ESE Loop 323, Suite 430
                                              Tyler, TX 75701
                                              Tel: (903) 705-1117
                                              Fax: (903) 581-2543




                                             2
         Case 6:21-cv-00815-ADA Document 27 Filed 12/06/21 Page 3 of 8




                                CERTIFICATE OF SERVICE

       I, Brandon R. Oates, hereby certify that on this day a true and correct copy of the

foregoing document, Joint Motion for Entry of Agreed Scheduling Order, was served on all

attorneys of record for Defendants via ECF.



Dated: December 6, 2021



                                                    /s/ Brandon R. Oates
                                                    Brandon R. Oates




                                                3
Case 6:21-cv-00815-ADA Document 27 Filed 12/06/21 Page 4 of 8




                    EXHIBIT A
           Case 6:21-cv-00815-ADA Document 27 Filed 12/06/21 Page 5 of 8




                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


                                              §
WAG ACQUISITION, L.L.C.,                      §
                                              §
                           Plaintiff,         §
v.                                            §
                                              §       No. 6:21-cv-00815-ADA
AMAZON.COM, INC.,                             §
AMAZON WEB SERVICES,                          §       Jury Trial Demanded
INC., and AMAZON.COM                          §
SERVICES LLC,                                 §
                                              §
                           Defendants.

                       [PROPOSED] AGREED SCHEDULING ORDER

         Pursuant to Fed. R. Civ. P. 16, the Court ORDERS that the following schedule will

govern deadlines up to and including the trial of this matter:

    Proposed Date               Item

    1/24/2022                   Defendant serves preliminary 1 invalidity contentions in the
                                form of (1) a chart setting forth where in the prior art references
                                each element of the asserted claim(s) are found, (2) an
                                identification of any limitations the Defendant contends are
                                indefinite or lack written description under section 112, and (3)
                                an identification of any claims the Defendant contends are
                                directed to ineligible subject matter under section 101.
                                Defendant shall also produce (1) all prior art referenced in the
                                invalidity contentions, and (2) technical documents, including
                                software where applicable, sufficient to show the operation of
                                the accused product(s).

    2/4/2022                    Parties exchange claim terms for construction.


1
  The parties may amend preliminary infringement contentions and preliminary invalidity
contentions without leave of court so long as counsel certifies that it undertook reasonable efforts
to prepare its preliminary contentions and the amendment is based on material identified after
those preliminary contentions were served, and should do so seasonably upon identifying any
such material. Any amendment to add patent claims requires leave of court so that the Court can
address any scheduling issues.
                                                  1
           Case 6:21-cv-00815-ADA Document 27 Filed 12/06/21 Page 6 of 8




    2/18/2022                  Parties exchange proposed claim constructions.

    2/25/2022                  Parties disclose extrinsic evidence. The parties shall disclose
                               any extrinsic evidence, including the identity of any expert
                               witness they may rely upon with respect to claim construction
                               or indefiniteness. With respect to any expert identified, the
                               parties shall identify the scope of the topics for the witness’s
                               expected testimony. 2 With respect to items of extrinsic
                               evidence, the parties shall identify each such item by
                               production number or produce a copy of any such item if not
                               previously produced.

    3/4/2022                   Deadline to meet and confer to narrow terms in dispute and
                               exchange revised list of terms/constructions.

    3/11/2022                  Defendant files Opening claim construction brief, including any
                               arguments that any claim terms are indefinite.

    4/1/2022                   Plaintiff files Responsive claim construction brief.

    4/15/2022                  Defendant files Reply claim construction brief.

    4/29/2022                  Plaintiff files a Sur-Reply claim construction brief.

    5/6/2022                   Parties submit Joint Claim Construction Statement.

                               See General Issues Note #9 regarding providing copies of the
                               briefing to the Court and the technical adviser (if appointed).

    5/10/2022                  Parties submit optional technical tutorials to the Court and
                               technical adviser (if appointed).

    5/20/2022                  Markman Hearing at 9:00 a.m. This date is a placeholder and
                               the Court may adjust this date as the Markman hearing
                               approaches.

    5/23/2022                  Fact Discovery opens; deadline to serve Initial Disclosures per
                               Rule 26(a).

    6/24/2022                  Deadline to add parties.




2
 Any party may utilize a rebuttal expert in response to a brief where expert testimony is relied
upon by the other party.
                                                2
       Case 6:21-cv-00815-ADA Document 27 Filed 12/06/21 Page 7 of 8




7/15/2022              Deadline to serve Final Infringement and Invalidity
                       Contentions. After this date, leave of Court is required for any
                       amendment to infringement or invalidity contentions. This
                       deadline does not relieve the parties of their obligation to
                       seasonably amend if new information is identified after initial
                       contentions.

8/19/2022              Deadline to amend pleadings. A motion is not required unless
                       the amendment adds patents or patent claims. (Note: This
                       includes amendments in response to a 12(c) motion.)

11/11/2022             Deadline for the first of two meet and confers to discuss
                       significantly narrowing the number of claims asserted and prior
                       art references at issue. Unless the parties agree to the
                       narrowing, they are ordered to contact the Court’s Law Clerk to
                       arrange a teleconference with the Court to resolve the disputed
                       issues.

12/9/2022              Close of Fact Discovery.

12/21/2022             Opening Expert Reports.

1/25/2023              Rebuttal Expert Reports.

2/15/2023              Close of Expert Discovery.

2/17/2023              Deadline for the second of two meet and confers to discuss
                       narrowing the number of claims asserted and prior art
                       references at issue to triable limits. To the extent it helps the
                       parties determine these limits, the parties are encouraged to
                       contact the Court’s Law Clerk for an estimate of the amount of
                       trial time anticipated per side. The parties shall file a Joint
                       Report within 5 business days regarding the results of the meet
                       and confer.

2/24/2023              Dispositive motion deadline and Daubert motion deadline.

                       See General Issues Note #9 regarding providing copies of the
                       briefing to the Court and the technical adviser (if appointed).

3/17/2023              Serve Pretrial Disclosures (jury instructions, exhibits lists,
                       witness lists, discovery and deposition designations).

3/31/2023              Serve objections to pretrial disclosures/rebuttal disclosures.

4/14/2023              Serve objections to rebuttal disclosures; file Motions in limine.



                                         3
            Case 6:21-cv-00815-ADA Document 27 Filed 12/06/21 Page 8 of 8




    4/28/2023                 File Joint Pretrial Order and Pretrial Submissions (jury
                              instructions, exhibits lists, witness lists, discovery and
                              deposition designations); file oppositions to motions in limine.

    5/5/2023                  File Notice of Request for Daily Transcript or Real Time
                              Reporting. If a daily transcript or real time reporting of court
                              proceedings is requested for trial, the party or parties making
                              said request shall file a notice with the Court and e-mail the
                              Court Reporter, Kristie Davis at kmdaviscsr@yahoo.com

                              Deadline to meet and confer regarding remaining objections
                              and disputes on motions in limine.

    4/14/2023                 Parties email the Court’s law clerk to confirm pretrial and trial
                              dates.

    5/12/2023                 File joint notice identifying remaining objections to pretrial
                              disclosures and disputes on motions in limine.

    6/5/2023                  Final Pretrial Conference.

    6/12/2023 3               Jury Selection/Trial.




          SIGNED this _____________ day of _______________________, 2021.




                                            _______________________________________
                                            ALAN D. ALBRIGHT
                                            UNITED STATES DISTRICT JUDGE




3
 If the actual trial date materially differs from the Court’s default schedule, the Court will
consider reasonable amendments to the case schedule post-Markman that are consistent with the
Court’s default deadlines in light of the actual trial date.
                                               4
